Filed 8/21/24 P. v. Martinez CA2/4
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     IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                SECOND APPELLATE DISTRICT
                       DIVISION FOUR

THE PEOPLE,                                                   B327434

       Plaintiff and Respondent,                              Los Angeles County
                                                              Super. Ct. No. VA154565
       v.

FELIPE FERNANDO
MARTINEZ,

       Defendant and Appellant.



      APPEAL from an order of the Superior Court of Los
Angeles County, Roger Ito, Judge. Affirmed.
      Paul Kleven, under appointment by the Court of Appeal,
for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Senior
Assistant Attorney General, Stephanie C. Brenan and Gabriel
Bradley, Deputy Attorneys General, for Plaintiff and Respondent.
                       INTRODUCTION

       A jury convicted defendant and appellant Felipe Fernando
Martinez of murdering a rival gang member and being a felon in
possession of a firearm. Martinez pled no contest to charges
arising from a separate incident in which he led police on a high-
speed car chase. The trial court sentenced Martinez to 30 years to
life plus 15 years and 4 months in state prison. On appeal,
Martinez argues the trial court prejudicially abused its discretion
by admitting testimony regarding his gang affiliation. He also
raises various challenges to the sentence the trial court imposed.
We affirm.

               PROCEDURAL BACKGROUND

       The Los Angeles County District Attorney filed an amended
information charging Martinez with murder (Pen. Code,1 § 187;
count one); two counts of possession of a firearm by a felon
(§ 29800, subd. (a)(1); counts two and four); recklessly fleeing a
peace officer (Veh. Code, § 2800.2; count three); driving with a
blood alcohol concentration of 0.15 percent or more (Veh. Code
§§ 23152, subd. (b), 23578; count five), and driving under the
influence of alcohol (Veh. Code, § 23152, subd. (a); count six). On
count one, the amended information alleged Martinez personally
and intentionally discharged a handgun, proximately causing
great bodily injury or death. (§ 12022.53, subds. (b), (c), (d) &amp;
(e)(1).) It also alleged Martinez had sustained a prior strike
conviction. (§§ 667, subds. (b)-(i); 1170.12, subds. (a)-(d).)
       Martinez pled no contest to counts three through six. The
jury found him guilty on counts one and two. It also found true

1    All further undesignated statutory references are to the
Penal Code unless otherwise specified.




                                 2
several of the firearm use allegations attached to count one.
(§ 12022.53, subds. (b), (c), &amp; (d).) It additionally found true the
following aggravating sentencing factors: (1) the crime involved
great violence, great bodily harm, threat of great bodily harm, or
other acts disclosing a high degree of cruelty viciousness, or
callousness; (2) Martinez was armed with and used a weapon;
and (3) Martinez engaged in violent conduct indicating a serious
danger to society. Martinez admitted the prior strike conviction
allegation was true.
       The trial court sentenced Martinez to 30 years to life plus
15 years and 4 months in state prison, consisting of 15 years to
life on count 1, doubled based on the prior strike, plus a 10-year
firearm enhancement (§ 12022.53, subd. (b)); 4 years on count 3,
consisting of a doubled two-year middle term; and 16 months on
count 4, consisting of one-third the middle term doubled. The
trial court either sentenced Martinez concurrently or stayed
sentencing under section 654 on the remaining counts.
       Martinez timely appealed.

                   FACTUAL BACKGROUND

      The parties are familiar with the facts underlying
Martinez’s convictions, so we need not recount them in great
detail. (People v. Garcia (2002) 97 Cal.App.4th 847, 851
[unpublished opinion reviewing the correctness of trial court’s
decision “does not merit extensive factual or legal statement”].)
We instead provide the following brief summary.

       A. Prosecution Evidence
       Evett Fazekas was in high school when she met Carlos
Solis. Although they never had an “official” dating relationship,
Fazekas considered Solis her boyfriend because they “did




                                  3
everything that [ ] couple[s] do[ ] together.” By June 2020,
Fazekas and Solis had known each other for almost two years.
Fazekas knew Solis was associated with a criminal street gang
called Fraser Maravilla.
      On June 20, 2020, a few minutes before 9:15 p.m., Fazekas
and Solis went to Marlow Park in Bell Gardens. They sat on a
bench where they were planning to smoke marijuana together.
Soon after they arrived, Martinez approached them holding a
beer cup with a michelada. Martinez asked Solis where he was
from and if he knew where he was. Solis replied he was from
Fraser Maravilla and knew exactly where he was. Martinez
loudly and angrily said he was from Walnut Gang.
      Solis took off his shirt. Martinez put down his cup and
punched Solis in the face. The two men fought on the ground with
Martinez on top of Solis. Fazekas grabbed Martinez’s beer cup
and threw it at Solis. Solis was then able to get on top of
Martinez, and Fazekas repeatedly kicked Martinez in the head.
Martinez pulled a revolver from his waistband.
      Fazekas and Solis started to run away in different
directions. Solis sprinted toward a fence, and Martinez sprinted
after him. As Solis tried to jump over the fence, Martinez shot
him. Solis fell to the ground on the other side of the fence.
Martinez fired five more shots. Fazekas stood there, unable to
believe what had happened. Martinez ran away. Fazekas jumped
over the fence and tried to keep Solis awake. She banged on the
door of a nearby house, and the occupants called the police.
Fazekas went back to Solis. Eventually the police arrived. Solis
died from multiple gunshot wounds.
      Bell Gardens Police Detective Omar Perez testified as a
gang expert. He testified, among other things, that Walnut Street




                               4
gang claimed various blocks of Bell Gardens as its territory, and
considered Marlow Park to be its main location to gather. Walnut
Street had no allies, so any other gang would be considered a
rival. Detective Perez testified that, even if there is no history of
violence between two gangs, a gang member coming into
another’s gang territory, and an exchange between gang
members that began with “where are you from,” could lead to a
response ranging from “verbal altercation . . . [to] physical
altercation to murder.”

      B. Defense Evidence
      Martinez testified in his defense. He testified he was an
associate of Walnut Street gang. He was drunk, dizzy, and
stumbling when he approached Solis and Fazekas. Solis was
“mean mugging” Martinez by staring directly at him with an
aggressive attitude. Martinez approached Solis and said “What
are you doing here? Where are you from?” and “This is Walnut
Gang. Do you know where you’re at?” Solis responded he was
from Fraser Maravilla. Solis was the first person Martinez had
ever met from that gang. Martinez had no animosity toward that
gang, and to his knowledge, neither did Walnut Street.
      When Solis took off his shirt, Martinez believed a fight was
about to happen, but was too intoxicated to defend himself. Solis
swung at Martinez and hit him hard in the face. Martinez’s
vision went dark, then the next thing he knew he was lying on
the ground and could feel repeated blows to his head. As Solis
continued to punch Martinez, he told Martinez: “I have
something for you.” Martinez was afraid Solis was going to use a
gun or some other weapon. Afraid for his life, Martinez pulled a
.38 revolver from his waistband and fired a shot at Solis.




                                  5
       Solis got off Martinez and started running toward the
street. Martinez knew gang members sometimes stash weapons
in parks or cars, and he was afraid Solis was running to get a
gun. Still feeling scared for his life, Martinez ran after Solis. As
Solis jumped over a fence, Martinez was afraid Solis was going to
grab a weapon from somewhere on the other side. Martinez fired
five shots at Solis then ran away.

                          DISCUSSION

   I. The trial court did not abuse its discretion by
      admitting gang evidence

      Martinez argues the trial court prejudicially abused its
discretion under Evidence Code section 352 by admitting gang
evidence. The Attorney General counters the trial court’s
admission of the gang evidence was not arbitrary nor irrational,
as the evidence was highly probative of Martinez’s motive for the
murder. We agree with the Attorney General.

       A. Background
       In a motion in limine, the prosecution sought to admit
evidence of Martinez’s “membership and association with the
Walnut Street gang in order to prove motive [under] Evidence
Code sections 210 and 1101(b).” The prosecution argued evidence
of Martinez’s gang affiliation was admissible under Evidence
Code section 352 because the probative value would not be
substantially outweighed by the danger of undue prejudice.
       The trial court heard argument on the motion. The
prosecution specified that in addition to evidence of Martinez’s
gang affiliation, it was seeking to admit testimony of police
officers concerning Walnut Street’s claim over Marlow Park, the
meaning of gang graffiti in the park, and “what it means for




                                 6
[Walnut Street] members when they come across a person who
may be disrespectful to that gang’s territory.”
      Martinez opposed the motion, arguing the gang evidence
should be excluded. Specifically, defense counsel argued “any
introduction of gang evidence would be highly prejudicial,”
especially given the absence of a gang allegation in the case.
      The trial court granted the prosecution’s motion in limine,
explaining “the evidence of the [Martinez’s] gang membership, of
the victim’s gang membership, [ ] [the] particular territory that’s
involved[,] and the statements that are uttered are admissible to
show . . . motive.” The court noted it “[did] not find it’s more
prejudicial than probative to allow that gang testimony in as
evidence of motive.”
      Both parties agreed the jury should be instructed using
CALCRIM No. 1403, regarding the limited purpose of the gang
evidence. The court then instructed the jury:

            You may consider evidence of gang activity only for a
      limited purpose of deciding whether:

            The defendant had a motive to commit the crime
      charged in Count 1 and the lesser included crime to that
      charged in Count 1.

            You may not consider this evidence for any other
      purpose. You may not conclude from this evidence that the
      defendant is a person of bad character or that he has a
      disposition to commit crime.

      B. Applicable Law
      Under Evidence Code section 352, trial courts have the
discretion to exclude relevant evidence “if its probative value is
substantially outweighed by the probability that its admission




                                 7
will (a) necessitate undue consumption of time or (b) create
substantial danger of undue prejudice, of confusing the issues, or
of misleading the jury.” Evidence Code section 352 guards
against the admission of “evidence which uniquely tends to evoke
an emotional bias against defendant as an individual and which
has very little effect on the issues.” (People v. Rucker (2005) 126
Cal.App.4th 1107, 1119.)
       We review for abuse of discretion a trial court’s
determination that evidence is admissible under Evidence Code
section 352. (People v. Doolin (2009) 45 Cal.4th 390, 437.) “Under
the abuse of discretion standard, ‘a trial court's ruling will not be
disturbed, and reversal of the judgment is not required, unless
the trial court exercised its discretion in an arbitrary, capricious,
or patently absurd manner that resulted in a manifest
miscarriage of justice.’” (People v. Hovarter (2008) 44 Cal.4th 983,
1004 (Hovarter).)
       “‘[E]vidence of gang membership is often relevant to, and
admissible regarding, the charged offense. Evidence of the
defendant’s gang affiliation—including evidence of the gang’s
territory, membership, signs, symbols, beliefs and practices,
criminal enterprises, rivalries, and the like—can help prove
identity, motive, modus operandi, specific intent, means of
applying force or fear, or other issues pertinent to guilt of the
charged crime.’” (People v. Ramirez (2022) 13 Cal.5th 997, 1095
(Ramirez).) “Such evidence is admissible even when a gang
enhancement is not charged, provided the probative value of the
evidence is not substantially outweighed by its prejudicial effect.”
(Ibid.) “Gang evidence is relevant and admissible when the very
reason for the underlying crime, that is the motive, is gang




                                  8
related.” (People v. Samaniego (2009) 172 Cal.App.4th 1148,
1167.)

       C. Analysis
       We conclude the trial court’s admission of gang evidence
was not an abuse of discretion. As the trial court correctly
explained in granting the prosecution’s motion in limine, the
gang evidence was probative of Martinez’s motive for committing
the murder. It was undisputed at trial that Martinez killed Solis.
The key issue in dispute was Martinez’s reason for doing so. The
prosecution’s position was Martinez murdered Solis, and the
murder was gang related. By contrast, Martinez testified in his
defense that he had no gang-related reason to kill Solis, and that
he killed Solis in self defense. Because the gang evidence was
highly relevant to these central factual disputes at trial, it was
not arbitrary nor irrational for the trial court to admit it under
Evidence Code section 352. (See Hovarter, supra, 44 Cal.4th at p.
1004.)
       We are unpersuaded by Martinez’s suggestion that remand
is warranted because the prosecution called a gang expert as its
first witness. The prosecution may make its own tactical
decisions regarding the order in which to present admissible
evidence. Nor are we persuaded by Martinez’s suggestion that
remand is warranted because the gang testimony was detailed
and lasted over an hour. The gang testimony adduced at trial
provided support for the prosecution’s theory that Martinez’s
motive for confronting and murdering Solis was gang related.
       Martinez’s argument that Detective Perez opined “on
whether the sequence of events in this case amount[s] to murder”
is likewise unsupported by the record. Detective Perez testified,
in the abstract, that a confrontation between members of rival




                                9
gangs “could” result in a “range” of outcomes from “verbal
altercation, physical altercation to murder.” This testimony was
permissible.
       We likewise reject Martinez’s suggestion that remand is
warranted because no gang allegations were charged in this case.
(Ramirez, supra, 13 Cal.5th at p. 1095 [“[Gang] evidence is
admissible even when a gang enhancement is not charged,
provided the probative value of the evidence is not substantially
outweighed by its prejudicial effect”].)
       Because we conclude the trial court did not abuse its
discretion by admitting the gang evidence, we need not address
Martinez’s argument that trial counsel was prejudicially
ineffective by not raising additional objections to various aspects
of that gang evidence. If the evidence was properly admitted by
the trial court, it follows logically that counsel’s failure to object
was not deficient. (See Strickland v. Washington (1984) 466 U.S.
668, 687-688 [in order to establish ineffective assistance of
counsel, a defendant must show counsel’s performance fell below
an objective standard of reasonableness].)

   II. The trial court did not abuse its discretion by
       denying Martinez’s Romero2 motion

      Martinez next argues the trial court erred in denying his
Romero motion. For the reasons discussed below, we reject this
contention.

      A. Background
      After Martinez was convicted, the prosecution filed a
sentencing memorandum. Martinez moved the sentencing court

2    People v. Superior Court (Romero) (1996) 13 Cal.4th 497(Romero).




                                  10
to dismiss his prior strike conviction in accordance with Romero.
Martinez also filed a sentencing memorandum, with exhibits,
including a social history report by a mitigation expert, letters of
support from family and friends, and scholarly articles on the
effects of childhood abuse.
       At the sentencing hearing, the trial court noted it had
reviewed Martinez’s “fairly comprehensive sentencing memo,
which included a complete personal history” and “some scholarly
references to the impact an extraordinarily traumatic childhood
would have on an individual such as to lessen the degree of
perhaps culpability for this particular crime.” The trial court
thanked defense counsel for submitting the information to the
court: “In particular, thank you for the report that you had
prepared by the mitigation expert. I did have a chance to take a
look at that social history, and it looks like it was pretty
horrendous.” Later in the hearing, the court praised defense
counsel, saying:

      Ms. Haigwood, you submitted a very comprehensive
      mitigation package. I don’t really see these that often, so I
      was impressed by it. It has an entire personal history.
      You’ve included dockets from family members who were
      convicted, or were sentenced to crimes in support of the
      circumstances that Mr. Martinez may have been facing
      over the course of his young life.

       The court also remarked: “Mr. Martinez in court also
presents as very courteous, and not a problem, whatsoever. And I
know his mom was here the whole time. And I have a distinct
recollection about the circumstances of the trial.”
       The court noted Martinez was 27 or 28 years old when he
committed the crime, and was therefore not a youthful offender.




                                 11
The court also stated the Romero motion noted Martinez was
intoxicated during the commission of the prior strike offense.
      During the hearing on the Romero motion, the prosecutor
acknowledged Martinez “did have a very difficult upbringing” and
faced “major obstacles in his life.” The prosecutor also conceded
Martinez’s “issues with drugs and alcohol” were “a part . . . of this
case” that “maybe” justified mitigation of the sentence.
      Before imposing sentence, the court stated it would not
dismiss the prior strike conviction, but that it would nevertheless
reduce Martinez’s sentence:

            The court did find there were aggravating
      circumstances. As a matter of fact, the jury found beyond a
      reasonable doubt that there were aggravating
      circumstances.

            I’ve had a chance to review the mitigation package,
      and [ ] I do see that there are some mitigating
      circumstances surrounding Mr. Martinez, his personal
      history . . . .

             Having said that, this court will decline to exercise
      its discretion under Romero to strike that prior strike
      conviction. However, I am going to utilize some of that
      mitigation, as it’s empowered by this court, to give him the
      non 25 to life sentence on the firearm.

      The court thus imposed 10 years instead of 25 years to life
on the firearm enhancement.
      After imposing sentence, the court further explained the
reasons for its sentencing choices:




                                 12
            Mr. Martinez’s sentence obviously is extremely
      heavy, but it is keeping in mind the nature of this
      particular conviction, his previous history, which includes a
      number of prior convictions.

             I have to tell you, Mr. Martinez, this court is not a
      soft court. This court will sentence you to very, very harsh
      terms. I’m giving you a break on that 25 to life count,
      because your attorney put together a very compelling
      package, that’s why I’m not imposing an additional 25
      years to life.

       Later in the sentencing hearing, the court asked Martinez
if he had any questions about his appellate rights. Martinez
replied, “No. I was just wondering why you didn’t strike the
strike?” The court answered, “Mr. Martinez, this court has a
certain amount of discretion[,] . . . [to] utilize . . . prior criminal
history and [ ] the length between the convictions.”

       B. Applicable legal principles
       A trial court must make its decision to strike or not strike a
prior conviction by considering factors that are intrinsic to the
Three Strike law’s sentencing scheme. (People v. Williams (1998)
17 Cal.4th 148, 161 (Williams).) The factors a trial court must
consider include: (1) the nature and circumstances of the current
conviction; (2) the nature and circumstances of the prior strike
conviction; and (3) the defendant’s “background, character, and
prospects[.]” (Ibid.) If the defendant falls outside the spirit of the
Three Strikes law, the court may, in furtherance of justice, treat
the defendant “as though he had not previously been convicted of
one or more serious and/or violent felonies.” (Ibid.; see also
Romero, supra, 13 Cal.4th at pp. 529-530; § 1385, subd. (a).) We




                                   13
review a trial court’s denial of a Romero motion for abuse of
discretion. (People v. Carmony (2004) 33 Cal.4th 367, 373.) As
mentioned in our discussion of the gang evidence admitted at
trial, “a trial court does not abuse its discretion unless its
decision is so irrational or arbitrary that no reasonable person
could agree with it.” (Id. at p. 377.)

       C. Analysis
       We reject Martinez’s argument that the denial of his
Romero motion was an abuse of discretion. The record does not
suggest, as Martinez contends, that the court was unaware of or
disregarded relevant mitigating factors in making its ruling.
Rather, the record shows the court balanced the relevant factors.
The court reasonably concluded, in light of Martinez’s current
offenses, criminal history, and character/prospects, that he posed
a danger to society and thus fell within the spirit of the Three
Strikes law. (See Williams, supra, 17 Cal.4th at p. 161.)
       The record reasonably supports the trial court’s conclusion
that Martinez fell within the Three Strikes law. Martinez’s adult
criminal history began in 2012 and continued up to the murder of
Solis, as well as after the murder when Martinez evaded police in
a car chase. Martinez sustained his prior strike offense, a
conviction for residential burglary, in 2013. He was also convicted
of reckless driving (Veh. Code, § 23103) in 2018, and he had an
open case for two counts each of looting (§ 463, subd. (a)) and
burglary (§ 459) alleged to have occurred less than a month
before the murder of Solis. In that case, it appears Martinez was
ultimately convicted of second-degree burglary.
       In other words, the record demonstrates that, over the
eight years preceding Solis’s murder, and in the months
afterward while he remained at large, Martinez repeatedly failed




                                14
to follow the law. (People v. Gaston (1999) 74 Cal.App.4th 310,
321 [remoteness of prior strikes not significant in view of
defendant’s lengthy criminal history].) The record does not show
Martinez lived crime-free in the community for any significant
period of time. Rather, Martinez sustained his first conviction in
2012, committed his first strike offense less than 18 months later,
and suffered two misdemeanor convictions in between. For his
first strike offense, Martinez was sentenced to four years in state
prison, which corresponds to the only significant break in his
criminal behavior. Upon his release from prison, he continued his
involvement in crime until he was incarcerated in the instant
case. Based on Martinez’s prior criminal history and recidivist
behavior, the trial court could reasonably conclude he fell within
the Three Strikes law.
       We reject Martinez’s argument that the trial court abused
its discretion by focusing solely on the current offense, to the
exclusion of other relevant factors. As discussed above, the record
shows that other relevant factors supported the trial court’s
ruling on the Romero motion.3 The trial court did discuss some of
these other factors in denying the Romero motion. For example,
when pronouncing judgment, the trial court said that in addition


3     To the extent Martinez suggests the trial court erred by not
explicitly discussing every potentially relevant factor in denying
the Romero motion, we are not persuaded. “While a court must
explain its reasons for striking a prior (§ 1385, subd. (a); see
Romero, supra, 13 Cal.4th 497, 531), no similar requirement
applies when a court declines to strike a prior [citation].” (In re
Large (2007) 41 Cal.4th 538, 550.) “‘The absence of such a
requirement merely reflects the legislative presumption that a
court acts properly whenever it sentences a defendant in
accordance with the [T]hree [S]trikes law.’” (Ibid.)




                                15
to the “nature of this particular conviction,” the sentence was
based on Martinez’s “previous history, which includes a number
of prior convictions.” When Martinez asked the court to further
explain its decision to deny the Romero motion, the court
explained that its ruling was informed in part by Martinez’s
“prior criminal history” including “the length between the
convictions.”
       Nor are we persuaded by Martinez’s contention that the
trial court improperly failed to consider mitigating circumstances
regarding his background in ruling on the Romero motion.
Indeed, the record reflects the trial court carefully reviewed all
the information provided by defense counsel, thanked defense
counsel for providing the useful information, and reduced
sentencing on the firearm enhancement based on factors in
mitigation.
       For these reasons, the trial court did not abuse its
discretion by denying Martinez’s Romero motion.

   III.   Senate Bill No. 81

       Martinez lastly argues section 1385, subdivision (c), as
amended by Senate Bill No. 81 (SB 81) (2021-2022 Reg. Sess.)
(Stats. 2021, ch, 721, § 1) applies here and warrants remand for
resentencing. The Attorney General counters that Martinez
forfeited his SB 81 argument by not objecting in the trial court,
and in any event, the argument fails on the merits. We agree
with the Attorney General that Martinez’s argument should be
rejected on the merits.
       Effective January 1, 2022, section 1385, subdivision (c)(2)
states sentencing courts “shall consider and afford great weight
to evidence offered by the defendant to prove that any of the
mitigating circumstances in subparagraphs (A) to (I) are present.




                                16
Proof of the presence of one or more of these circumstances
weighs greatly in favor of dismissing the enhancement, unless
the court finds that dismissal of the enhancement would
endanger public safety.”
       One of the enumerated mitigating circumstances enacted
by SB 81 is: “Multiple enhancements are alleged in a single case.
In this instance, all enhancements beyond a single enhancement
shall be dismissed.” (§ 1385, subd. (c)(2)(B).) Another enumerated
mitigating circumstance is: “The enhancement is based on a prior
conviction that is over five years old.” (§ 1385, subd. (c)(2)(H).)
Yet another enumerated mitigating circumstance is: “The
application of an enhancement could result in a sentence of over
20 years.” (§ 1385, subd. (c)(2)(C).) Martinez argues these three
mitigating circumstances apply to his case.
       We first begin by addressing the Attorney General’s
forfeiture argument. It is true Martinez’s counsel did not raise SB
81 in the trial court, and thus this court may conclude the
argument is forfeited. But we nevertheless exercise our discretion
to reach the merits of whether SB 81 applies here. (See, e.g.,
People v. Anderson (2020) 9 Cal.5th 946, 962 [reviewing court
may reach the merits of an otherwise forfeited claim when the
alleged error affects the defendant’s substantial right].)4
       As noted above, Martinez raises three arguments why SB
81 should apply to his case. We are unpersuaded.
       His first two arguments relate either partially or fully to
the fact that the trial court sentenced him under the Three
Strikes law. As noted above, the trial court doubled Martinez’s


4     Because we exercise our discretion to reach the merits, we
need not address the parties’ substantive arguments concerning
whether trial counsel was ineffective.




                                17
sentence on count one under the Three Strikes law, then
enhanced it by 10 years under section 12022.53, subdivision (b).
According to Martinez, because his sentence on count one was
doubled under the Three Strikes law, and also consisted of the
firearm enhancement, his case falls under section 1385,
subdivision (c)(2)(B), which enumerates the following mitigating
circumstance: “Multiple enhancements are alleged in a single
case. In this instance, all enhancements beyond a single
enhancement shall be dismissed.” (Italics added.) As this
language makes clear, the subdivision relates only to
enhancements. Our Supreme Court has long held the Three
Strikes law “articulates an alternative sentencing scheme for the
current offense rather than an enhancement.” (Romero, supra, 13
Cal.4th at p. 527.) Because the plain language of SB 81 applies
only to enhancements, it is inapplicable to the trial court’s
decision to sentence Martinez under the Three Strikes law.
(People v. Burke (2023) 89 Cal.App.5th 237, 239-240, 242-244
(Burke); People v. Tilley (2023) 92 Cal.App.5th 772, 776, fn. 2
[same]; People v. Olay (2023) 98 Cal.App.5th 60, 67-69 [same];
People v. Dain (2024) 99 Cal.App.5th 399, 411 [same].) In other
words, the trial court imposed only one enhancement and thus
complied with section 1385, subdivision (c)(2)(B).
       For these same reasons, we reject Martinez’s argument
that SB 81 applies because the trial court imposed an
enhancement based on a prior conviction that is over five years
old. (§ 1385, subd. (c)(2)(H).) Although Martinez’s prior strike was
over five years old, the trial court’s decision to double Martinez’s
sentence on count one under the Three Strikes law was not an
enhancement as described in the statute. (Romero, supra, 13
Cal.4th at p. 527; Burke, supra, 89 Cal.App.5th at pp. 239-240,




                                18
242-244.) The sentence the trial court imposed therefore complied
with section 1385, subdivisions (c)(2)(B) and (c)(2)(H).
       We now turn to Martinez’s third argument: SB 81 applies
here because an enhancement was alleged that “could result in a
sentence of over 20 years.” (§ 1385, subd. (c)(2)(C).) As discussed
previously, the amended information alleged Martinez personally
and intentionally discharged a handgun, proximately causing
great bodily injury or death. (§ 12022.53, subd. (d).) The sentence
for that firearm use allegation is 25 years to life. (Ibid.) The jury
found that allegation true. But the amended information also
contained a separate allegation that, in the commission of the
murder, Martinez personally used a firearm within the meaning
of section 12022.53, subdivision (b). The jury found that
allegation true as well. The sentence for that allegation is 10
years in state prison. (§ 12022.53, subd. (b).) At the sentencing
proceedings, based on mitigating circumstances, the court
dismissed the 25-years-to-life firearm enhancement (§ 12022.53,
subd. (d)) and instead imposed a 10-year firearm enhancement
under section 12022.53, subdivision (b).5 Because the court

5     Although it appears the trial court misspoke at the
sentencing hearing and stated it was imposing the 10-year
firearm enhancement under section 12022.5, the abstract of
judgment correctly reflects the court imposed the 10-year
enhancement under section 12022.53, subdivision (b).
Additionally, after Martinez’s sentencing hearing, our Supreme
Court clarified that, after a trial court strikes a section 12022.53
enhancement, it may impose a lesser included, uncharged
enhancement authorized elsewhere in the Penal Code. (People v.
McDavid (2024) 15 Cal.5th 1015, 1021 (McDavid).) In light of
McDavid, it appears the trial court could permissibly impose the
10-year firearm enhancement either under section 12022.5,
subdivision (a) or under section 12022.53, subdivision (b).




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dismissed the 25-year-to-life enhancement, and instead imposed
a 10-year firearm enhancement, section 1385, subdivision
(c)(2)(C) does not apply to Martinez’s case.
       In summary, none of the provisions of SB 81 Martinez cites
applies to his case.
                          DISPOSITION

     The judgment is affirmed.

  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                                  CURREY, P. J.
We concur:




COLLINS, J.




MORI, J.




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